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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

U.S. BANK NATIONAL ASSOCIATION,                 §
AS TRUSTEE UNDER                                §
SECURITIZATION SERVICING                        §
AGREEMENT DATED AS OF JULY 1,                   §
2005 STRUCTURED ASSET                           §
SECURITIES CORPORATION,                         §
STRUCTURED ASSET INVESTMENT                     §
LOAN TRUST MORTGAGES PASS-                      §
THROUGH CERTIFICATES, SERIES                    §
2005-HE1,                                       §
                                                §         Civil Action No. 3:18-cv-3126-L
 Plaintiff,                                     §
                                                §
v.                                              §
                                                §
ARTURO A. MONDRAGON and CELIA                   §
MONDRAGON,                                      §
                                                §
 Defendants.                                    §

                   PLAINTIFF’S THIRD MOTION TO ABATE ACTION

        Plaintiff U.S. Bank National Association, as Trustee under Securitization Servicing

Agreement Dated as of July 1, 2005 Structured Asset Securities Corporation, Structured Asset

Investment Loan Trust Mortgages Pass-Through Certificates, Series 2005-HE1 (“Plaintiff” or

“U.S. Bank”) files this its Third Motion to Abate Action, and respectfully shows as follows:

                                                I.

        1.     Plaintiff filed its Original Complaint on November 27, 2018 (the “Complaint”)

alleging that Defendants Arturo A. Mondragon and Celia Mondragon (the “Defendants”), are in

default of their obligations under the terms of a loan agreement and seeking authorization to

foreclose upon the real property commonly known as 1403 Heather Run Drive, Texas 75137.

(ECF Docket No. 1).



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       2.      On January 8, 2020, Plaintiff filed its Motion for Default Judgment Against

Defendants Arturo A. Mondragon and Celia Mondragon and its Request for Entry of Default as to

Defendants because Defendants did not file a responsive pleading within 21 days after service of

the Complaint. See FED. R. CIV. P. 12(a)(1)(A)(i) (ECF Document Nos. 12-13).

       3.      On July 1, 2020, the Court entered its Memorandum Opinion and Order, in which

the Court required Plaintiff to prove it has authority to foreclose and that it sent the Notice of

Default and Notice of Acceleration to Defendants. (ECF Document No. 15).

       4.      On July 31, 2021, Plaintiff filed its Second Motion for Default Judgment Against

Defendants Arturo A. Mondragon and Celia Mondragon. (ECF Document No. 17.)

       5.      On December 8, 2021, the Court entered its Memorandum Opinion and Order

granting Plaintiff’s Second Motion for Default Judgment and allowing Plaintiff to proceed with

foreclosure of the subject property pursuant to the Deed of Trust. (ECF Document No. 24.) On the

same day, the Court entered its Final Default Judgment allowing foreclosure. (ECF Document

No. 25.)

       6.      On December 16, 2021, Plaintiff filed a Motion to Vacate Default Judgment

Against Defendants and advised the Court that at the time that the Default Judgment was entered

the subject loan was placed on hold due to active loss mitigation. Plaintiff requested the Court to

vacate the Default Judgment since Plaintiff had a legal duty to take the reasonable steps to avoid

foreclosure. (ECF Document No. 26.)

       7.      On December 21, 2021, the Court entered an Order and vacated the Memorandum

and Opinion Order (Doc. 24) and the Default Judgment (Doc. 25). (ECF Document No. 27.) On

February 17, 2022, Plaintiff filed its Motion to Reinstate the Case and advised the Court that

Defendants failed to comply with the trial plan payments and that the loss mitigation application



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was formally denied on February 10, 2022. (ECF Document No. 28.) On February 25, 2022, the

Court entered an Order reinstating the case. (ECF Document No. 29.)

       8.      After the reopening of the case, Defendants still failed to file an answer and/or

otherwise appear to defend themselves from the allegations in the Complaint. Accordingly, on

March 9, 2022, Plaintiff filed its Third Motion for Default Judgment. (ECF Document No. 30.)

The Court is still pending to rule on such motion.

       9.      However, the undersigned has been recently informed that on March 9, 2022,

Defendant Arturo A. Mondragon was approved for trial plan payment starting with a first

payment due on April 1, 2022. The last payment under the trial period would be due on June 1,

2022. As a result, Plaintiff is prohibited from moving forward with judgment in this action, under

current CFPB regulations. See 12 CFR §1024.41(g).

       10.     Plaintiff therefore respectfully requests that this suit and all upcoming deadlines,

settings and rulings be abated for a period of, at least, ninety (90) days to allow sufficient time for

Plaintiff to allow Defendants to comply with the requirements of a Trial Period Plan (if the offer

is accepted). In the event Defendants default and the Trial Period Plan is not completed, Plaintiff

shall immediately reinstate the case in order for the Court to rule on the pending Third Motion for

Default Judgment which would dispose the entire case.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this Court abate this

action and all upcoming settings, deadlines and rulings for at least, ninety (90) days and for such

other relief to which it may be justly entitled.




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                                                    Respectfully submitted,

                                                   By: /s/ Vivian N. Lopez
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                                                    Attorney-in-Charge
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                                                      VIVIAN N. LOPEZ
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                                                   Dallas, Texas 75254
                                                   214-635-2685 (Phone)
                                                   214-635-2686 (Fax)

                                                   ATTORNEYS FOR PLAINTIFF

                             CERTIFICATE OF CONFERENCE

        I hereby certify that I have been unable to conference with the Defendants in this matter,
as they have failed to appear in this case.

                                                    /s/ Vivian N. Lopez
                                                    VIVIAN N. LOPEZ

                                CERTIFICATE OF SERVICE

      The undersigned certifies that on March 16, 2022, a true and correct copy of the foregoing
document was delivered to the following in the manner indicated:

Via Regular U.S. Mail
Arturo A. Mondragon
1403 Heather Run Drive
Duncanville, Texas 75137

Via Regular U.S. Mail
Celia Mondragon
1403 Heather Run Drive
Duncanville, Texas 75137

                                                    /s/ Vivian N. Lopez
                                                    VIVIAN N. LOPEZ



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